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                     EXHIBIT 4
  Case 1:24-cv-03051-RDM            Document 25-4                    Filed 05/06/25                              Page 2 of 2
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April 25, 2025

By email

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Washington, DC 20002                              Sacramento, CA 95811

Re:    VoIP-Pal.com Inc. v. AT&T, Inc. et al., No. 24-CV-03051-RDM (D.D.C)
       lnza et al. v. AT&T, Inc. et al., No. 24-CV-03054-RDM (D.D.C)

Dear Messrs. Pittman and Parmenter:

I write regarding Mr. Pittman's correspondence of April 23, 2025. In his letter, Mr. Pittman
stated that he was effecting service of process in the above referenced cases on the "Verizon
defendants" through my office. His correspondence, however, does not satisfy the
requirements of Rule 4 because it did not include a copy of the operative complaint(s) (and
the summons he did provide relate only to the direct case (No. 24-cv-03051) and not the
class action (No. 24-cv-03054).

Instead of attaching the complaint(s), your letter provides two links to separate on line
document repositories containing all of the papers from the dockets in the above referenced
cases. Each folder contains multiple complaints filed at different times. Consequently, it is
not clear which claims you intend for the Verizon defendants to respond to, and our clients
cannot fairly be on notice of the claims against them.

We request that you send us the versions of the complaints you believe are the operative
complaints in this case.

Please let me know if you have any questions.




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